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                                                     Exhibit 17
                       Designations of Deposition Testimony of June Jenkins (August 23, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                             Objections
       24:3                    25:6
       37:12                   38:1
       41:21                   42:4
       42:13                   43:3
       46:10                  46:20
       50:17                   52:5
       60:18                   61:9
       62:15                   63:7
       64:4                    66:4
       66:25                   67:5
       68:11                  68:18
       69:22                  70:24
       74:18                   76:5
       77:7                    80:1
       80:5                   80:18




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